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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS
                                         Eastern Division
____________________________________
                                              )
FREDERIC ROLAND and                           )
JOSE ANTONIO RAMOS LIMA,                      )
FLAVIO LIMA HERCULANO,                        )
ALTINO BARROS, and                            )
JAILSON PIRES, on behalf of                   )
themselves and all others similarly situated, )
                                              )
Plaintiffs,                                   )           Civil Action No. 1:23-cv-11586
                                              )
v.                                            )
                                              )
CARDINAL LOGISTICS                            )
MANAGEMENT CORPORATION,                       )
d/b/a CARDINAL HOME                           )
DELIVERY CARRIERS,                            )
                                              )
Defendant.                                    )
____________________________________)
                                 ORDER GRANTING FINAL
                     APPROVAL OF CLASS ACTION SETTLEMENT


       This matter having come before the Court by way of Plaintiffs’ Assented-to Motion for

Final Approval of Class Action Settlement, and for good cause shown,

                      4th day of ___________,
       IT IS on this ____          November 2024 hereby ordered as follows:


          1. The Court has jurisdiction over the Parties and the claims in this case.

          2. The Court hereby finds that the settlement reached by the Parties satisfies the

   applicable requirements of Fed. R. Civ. P 23(e) for settlement purposes only, and grants final

   approval of the Settlement Agreement.

          3. The Settlement Agreement is incorporated by reference into this Order and is

   hereby adopted as an Order of this Court.
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         4. The Court finds that no Settlement Class Members have objected to the Settlement,

  and no Settlement Class Members have filed exclusion requests from the Settlement.

         5. The Notice of Settlement given to the Settlement Class fully and accurately

  informed the Settlement Class members of all material elements of the proposed Settlement,

  and was the best notice practicable under the circumstances, and complied with the

  requirements of Fed. R. Civ. P. 23.

         6. The settlement funds shall be distributed in accordance with the terms of the

  Settlement Agreement.

         7. Greater Boston Legal Services is approved as a cy pres beneficiary.

         8. The Court hereby approves service awards in the amount of $10,000.00 each for

  Plaintiffs Frederic Roland, Jose Antonio Ramos Lima, Flavio Lima Herculano, Altino Barros,

  and Jailson Pires.

         9. The Court hereby approves an award of attorneys’ fees of $265,000.00 to Class

  Counsel, in recognition of their continued hard work over the lifetime of this case and the result

  achieved on behalf of the Settlement Class.

         10. The Court hereby enters final judgment and dismisses this action with prejudice,

  with each party to bear its own fees and costs.

         11. Without affecting the finality of this Judgment in any way, the Court hereby retains

  continuing jurisdiction over: (a) the implementation of the settlement; and (b) the Parties and

  their counsel, for the sole purpose of construing, enforcing and administering the Settlement

  and this Order and Judgment.

IT IS SO ORDERED.
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Dated: 11/4/2024                                /s/ Angel Kelley
                                               Hon. Angel Kelley
                                               United States District Judge
